Case 1:25-cv-00004-MN   Document 1-2   Filed 01/02/25   Page 1 of 3 PageID #: 13




                              EXHIBIT B
               Case 1:25-cv-00004-MN                         Document 1-2        Filed 01/02/25      Page 2 of 3 PageID #: 14
Edward F. Borden, Jr.
eborden@earpcohn.com
Admitted to practice in New Jersey
and Pennsylvania
Certified by the Supreme Court
of New Jersey as a Civil Trial
Attorney and a Criminal Trial Attorney




                                                                    October 30, 2024

               VIA EMAIL ONLY (heidi@bmbde.com)
               Heidi J. A. Gilmore, Esquire
               Baird Mandalas Brockstedt & Federico
               1413 Savannah Rd., Suite 1
               Lewes, DE 19958

                                         Re:      Everingham & Kerr, Inc. v. Harry Caswell, Lynne Caswell, Caswell
                                                  Holding Co., Inc., Harry Caswell, Inc.
               Dear Ms. Gilmore:

                      Our firm represents Everingham & Kerr in connection with a claim against the Caswells
               individually and their companies for recovery of a Success Fee that the Caswells agreed to pay in
               connection with the sale of their business. I understand that you have a copy of the Engagement
               Agreement.

                       I have reviewed the email exchange between you and Mr. Vanore, and it appears that the
               parties are at an impasse. I am writing in the hope that we may take one more try at resolving this
               matter before we file suit. You are no doubt aware that my client will be entitled to recover legal
               fees and costs as well as interest if successful in such litigation.

                      From my review of the emails, it appears that you take the position that E&K is not entitled
               to a Succes Fee unless it engaged directly with the purchaser, George & Lynch, Inc., to
               consummate a transaction. Respectfully, I believe that this is incorrect for at least three reasons.
               The agreement contains certain provisions intended to address a situation like this in which E&K
               performs its services and generates good faith offers to purchase a business after which the seller
               then uses those offers to solicit a sale to a third party without compensating E&K.

                       First, the agreement specifically provides that if a transaction occurs within 24 months of
               the termination of the agreement “to any buyer who was contacted” by E&K, the Success Fee is
               due. (Emphasis added.). E&K is prepared to prove, and has supplied you with documentation that
               proves, that this occurred. Second, the agreement provides that the fee will be due if a sale occurs
               during the two-year tail period to “any parties that the Client excluded the Consultant from
               contacting…” Your client has confirmed that they precluded E&K from contacting such

                                                                     REPLY TO:

                                                                   NEW JERSEY OFFICE          PENNSYLVANIA OFFICE
                                          Earp Cohn P.C.           20 Brace Road, Suite 400   123 S. Broad Street, Suite 1030
                                          Attorneys at law         Cherry Hill, NJ 08034      Philadelphia, PA 19109
                                          www.earpcohn.com         t 856.354.7700             t 215.963.9520
                                                                   f 856.385-7060             f 856.385.7060
Case 1:25-cv-00004-MN          Document 1-2        Filed 01/02/25      Page 3 of 3 PageID #: 15

Page 2




local potential purchasers as George & Lynch. Third, on January 21, 2023, Lynne Caswell wrote
to E&K concerning outstanding offers to purchase the business negotiated by E&K as follows: “I
know we might be passing up a great opportunity but we have given this offer much consideration
and we have decided to pass on it and to look at other options. It has become clear to us that we
are not ready to sell the business. We would like to thank you for your help with this process but
we want to terminate our agreement.” From the timing of the consummation of the sale
transaction, it appears likely that your clients already had been in contact with George & Lynch at
the time of this email, or at the very least that Ms. Caswell’s statement that they had decided not
to sell the business was false.

       In order to discuss a resolution of E&K’s claim, it will be necessary for us to review in full
all documents relating to the sale of the business. We are prepared to execute a non-disclosure
agreement covering such review.

         Please let me hear from you by November 7, 2024.

                                              Sincerely,




                                              Edward F. Borden, Jr.

EFB/jla
